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                      UNITED STATES COURT OF INTERNATIONAL TRADE

__________________________________
                                                 )
UNITED STATES OF AMERICA,                        )
                                                 )
         Plaintiff,                              )
                                                 )
   vs.                                           ) Court No.: 20-03628
                                                 )
 AEGIS SECURITY INSURANCE CO.,                   )
                                                 )
     Defendant.                                  )
__________________________________               )



                                       PUBLIC COMPLAINT

          Pursuant to the rules of this court, the United States of America, Plaintiff, alleges as

follows:

          1.      This action is brought by the United States of America, on behalf of the

Department of Homeland Security, United States Customs and Border Protection (CBP), against

defendant, Aegis Security Insurance Company (Aegis), to recover unpaid duties and interest

pursuant to 19 U.S.C. §1505 in the total amount of $50,000.00, plus pre-judgment interest

pursuant to 19 U.S.C. § 580, equitable interest, and post-judgment interest pursuant to 28 U.S.C.

§ 1961.

          2.      This Court has jurisdiction over this matter under 28 U.S.C. § 1582(2).

          3.      Upon information and belief, Aegis’s service of process address, physical address,

and surety claims address is Aegis Security Insurance Company c/o Avalon Risk Management,

Inc., 150 Northwest Point Blvd, Fl 4, Elk Grove Village, Illinois 60007-1015.

          4.      Upon information and belief, Aegis’s mailing address is: P.O. Box 3153,

Harrisburg, Pennsylvania 17105.


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                                               COUNT I

          5.      Paragraphs 1 through 4 are incorporated by reference as though fully set forth

herein.

          6.      For the reasons set out in paragraphs 7 through 36, Plaintiff’s Count I seeks to

collect unpaid supplemental duties and interest on a continuous bond executed by Aegis

described below.

          7.      On or about October 24, 2002, Aegis, as surety, entered into a continuous customs

bond (the continuous bond) with Linyi Sanshan Import & Export Co. (“Linyi”), as principal. A

copy of the continuous bond is attached as Exhibit A.

          8.      Under the terms of the continuous bond, Aegis agreed to be jointly and severally

liable to pay, as demanded by CBP, any duties, taxes, and charges subsequently found due,

legally fixed, and imposed on any entry secured by the continuous bond up to the “limit of

liability” reflected on the bond. See Exhibit A.

          9.      The limit of liability of the continuous bond is $50,000.00. See Exhibit A.

          10.     The continuous bond was effective from October 26, 2002, until its termination

date on October 25, 2004.

          11.     Between January 16 and February 11, 2004, Linyi made ten entries of fresh garlic

from the People’s Republic of China (China) through ports in Miami, Florida and Houston,

Texas (CBP port codes 5201 and 5301) (the Entries). Copies of the Entries are attached as

Exhibit B.

          12.     The Entries were subject to the antidumping duty order on certain fresh garlic

from China issued by the Department of Commerce (Commerce) (A-570-831) (the garlic order).



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See Antidumping Duty Order: Fresh Garlic From the People’s Republic of China, 59 Fed. Reg.

59209 (Nov. 16, 1994).

       13.     At the time of entry, Linyi declared in its entry papers that the Entries were

subject to antidumping duties at a rate of             ad valorem. See Exhibit B. The amount of

antidumping duties asserted by Linyi at the time of entry is reflected as follows:


                        Entry Number         Amount of antidumping duties
                                              asserted at the time of entry
                        JN703318574
                        JN703318582
                        JN703318541
                        JN703318566
                        JN703318681
                        JN703318558
                        JN703318533
                        JN703318590
                        H0202152684
                        H0202152544
                           Total


       14.     Separate from the continuous bond, Linyi obtained a single transaction bond from

                                                 for each of the Entries.

       15.     Linyi provided the single transaction bonds to CBP in lieu of making cash

deposits of estimated antidumping duties for each of the Entries.

       16.     The amount of the single transaction bonds that Linyi obtained for each Entry is

reflected as follows:




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                       Entry Number Amount of the single transaction
                                      bonds issued by
                       JN703318574
                       JN703318582
                       JN703318541
                       JN703318566
                       JN703318681
                       JN703318558
                       JN703318533
                       JN703318590
                       H0202152684
                       H0202152544
                          Total

       17.     On November 4, 2006, the Entries liquidated by operation of law at the rate of

duty, value, quantity, and amount of duty asserted at the time of entry. See 19 U.S.C. § 1504(d);

see also United States v. Am. Home Assur. Co., 151 F. Supp. 3d 1328, 1342–43 (Ct. Int’l Trade

2015), amended, (Ct. Int’l Trade Mar. 15, 2016), aff’d without opinion, No. 2018-1960,

Judgment (Fed. Cir. Sept. 6, 2019).

       18.     Linyi became liable for                in antidumping duties as a result of the

deemed liquidation.

       19.     On or about October 3, 2014 and October 31, 2014, CBP billed Linyi for the first

time for each of the Entries. Copies of the bills (the Count I bills) are attached as Exhibit C.

       20.     Linyi did not pay the Count I bills.

       21.     The bills issued to Linyi became delinquent on November 3, 2014 and December

1, 2014, respectively, when the debt remained outstanding for over 30 days.

       22.     On or about January 7, 2015, CBP made its first demand for payment from Aegis

for the debt owed under the $50,000.00 continuous bond via the Formal Demand on Surety for

Payment of Delinquent Amounts Due (known as the “612 Report”). A copy of the relevant page




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of the 612 report (612 Report labeled December 2014 with a run date of January 1, 2015)

containing the first demand to Aegis for payment is attached as Exhibit D.

       23.        The demand issued to Aegis pursuant to the 612 report became delinquent on or

about February 7, 2015, when the debt remained outstanding for over 30 days. See 19 U.S.C. §

1505(b); 19 C.F.R. § 113.62(a)(1)(ii); 19 C.F.R. § 24.3a(a); 19 C.F.R. § 24.3(e).

       24.        In April 2015, CBP mailed its first demand for payment from              for the

debt owed under the single transaction bonds. The demand was made to                   via its own

individual 612 Report.

       25.        On November 17, 2017,              paid the value of the single transaction bonds

for each Entry.

       26.        Due to the accumulation of interest,            payment of the single transaction

bonds did not completely satisfy the outstanding debt for the Entries.

       27.        The outstanding debt for the Entries subsequent to the payment of the single

transaction bonds by              is greater than the face value of the $50,000.00 continuous entry

bond issued by Aegis.

       28.        As of the filing of this complaint, the outstanding balance of the duties and

interest that has accumulated pursuant to 19 U.S.C. § 1505(d) on the debt for the Entries is

$91,063.69.

       29.        CBP demanded payment from Aegis for the debt owed under the continuous bond

via the 612 Report several times after               payment of the single transaction bonds.

       30.        Aegis filed protest number 5309-15-100065 covering two of the Entries.

       31.        CBP denied protest number 5309-15-100065 on April 1, 2015.

       32.        Aegis filed protest number 5201-15-100169 covering eight of the Entries.



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       33.     CBP denied protest number 5201-15-100169 on July 10, 2018.

       34.     Aegis did not contest the denial of protest number 5309-15-100065 or protest

number 5201-15-100169 by filing an action in this Court.

       35.     To date, neither Linyi nor Aegis has made any payments pursuant to their

obligations under the law and the continuous bond to pay the outstanding debt for the Entries.

       36.     For the outstanding debt comprised of the unpaid antidumping duties for the

Entries and the unpaid interest that has accrued pursuant to 19 U.S.C. § 1505(d), Aegis’s liability

is limited to the face amount of the bond. However, due to its own acts, such as failing to pay

upon demand, Aegis is also liable above the contractual limit of the bond for interest pursuant to

19 U.S.C. § 580, and may be liable for equitable interest.




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        WHEREFORE, Plaintiff, United States of America, respectfully requests this Court to

enter judgment in its favor against Defendant, Aegis Security Insurance Company, for duties and

interest pursuant to 19 U.S.C. § 1505 in the total amount of $50,000.00 — the contractual limit

of the bond — and interest pursuant to 19 U.S.C. § 580, equitable interest, and post-judgment

interest pursuant to 28 U.S.C. § 1961, which are not subject to the bond limit; and for all other

just and proper relief.

    Dated: October 2, 2020

                                                      Respectfully Submitted,

                                                      JEFFREY BOSSERT CLARK
                                                      Acting Assistant Attorney General

                                                      JEANNE E. DAVIDSON
                                                      Director


                                                  By: /s/ Justin R. Miller
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